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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NANCY D. VINCA,

        Plaintiff,                                   Case No. 18-cv-192

                v.                                   Hon. Robert W. Gettleman
                                                     Assigned District Judge
 FBA STORES, LLC; FBA
 DISTRIBUTORS, LLC; FBA                              Hon. Sidney I. Schenkier
 ADVANTAGE, LLC; ONLINE AUCTION                      Assigned Magistrate Judge
 LEARNING CENTER, INC; CAPFUND
 ENTERPRISES INC., d/b/a CAPFUND                     JURY TRIAL DEMANDED
 FINANCIAL; CHRISTOPHER BOWSER;
 ADAM BOWSER; BRIAN SCIARA;
 PENTAGON FEDERAL CREDIT
 UNION,

        Defendants.
        NOTICE OF DISMISSAL WITHOUT PREJUDICE UNDER FRCP 41

        Under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Nancy

 Vinca hereby dismisses this entire action without prejudice and states as follows:

        i.      Plaintiff filed this action on January 10, 2018.

        ii.     No party has served either an answer or a motion for summary judgment.

        iii.    Plaintiff respectfully requests that the court strike all future status dates and

                appearances.


Dated: April 2, 2018                         Zamparo Law Group, P.C.

                                             By:     /s/ Steven J. Uhrich
                                             Steven J. Uhrich(6310369)
                                             ZAMPARO LAW GROUP, P.C.
                                             2300 Barrington Road, Suite 140
                                             Hoffman Estates, IL 60194
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this day, the foregoing was filed electronically
through the CM/ECF system with the Clerk of the Court for the United States District Court for
the Northern District of Illinois, Eastern Division, and was served upon all counsel of record.


Dated: April 2, 2018                                         /s/Steven J. Uhrich
                                                             Steven J. Uhrich
